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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
IN RE:
ANDRE BEAUHARNAIS CASE NO.; 10-36945-AJC
MARIE BEAUHARNAIS CHAPTER 7
Debtors.
/

 

AFFIDAVIT OF MOVANT IN SUPPORT OF MOTION FOR RELIEF FROM STAY

STATE OF “Texas
COUNTY OF Travis

 

BEFORE ME, the undersigned authority personally appeared

Chamagne Williams , who after being duly sworn and upon oath, deposes

 

and says:

aq Assistant Vice President
1, 1, Chamagne Williams 0 the of OneWest Bank, FSB, (hereinafter

“Movant’) and have personal knowledge of the facts stated herein.

2. Ihave authority to make this affidavit. Further, I have personally reviewed the records
of OneWest Bank, FSB and make this Affidavit based upon personal knowledge obtained
therein. The information hereinafter given is contained in the original books and records
maintained in the office of said servicer. The amount of the indebtedness and the nature
and extent of default set forth in the motion is information derived from records that were
made at or near the time of the occurrence of the matters set forth by, or from information
transmitted by, a person with knowledge of those matters, the records were kept in the
course of the regularly conducted activity and were made by the regularly conducted
activity as a regular practice. Affiant certifies that all of the documents attached to the

motion as an exhibit are true and accurate copies of the original documents. Affiant has

 
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signed Affidavit under penalty of perjury as being true and correct based on personal
knowledge of the books and business records.

3. On August 27, 2006, IndyMac Bank, F.S.B., a federally chartered savings bank, was
given an executed note and mortgage from the Debtors, Andre J, Beauharnais and Marie
Beauharnais, a married couple husband and wife, in the amount of $178,000.00.

4. The Mortgage encumbered property, more particularly described as follows:

Lot 17, Block 1, Gregory Heights, according to the plat thereof, as recorded in Plat Book
49, Page 75, of the Public Records of Miami-Dade County, Florida.

a/k/a: 1575 Northwest 124th Street, North Miami, FL 33176
5, The Debtors, Andre J. Beauharnais and Marie Beauharnais, have failed to make
payments and are currently due for the July 1, 2010 payment and all subsequent
payments.
6. The value indicated in the Miami Dade County Property Record Card attached to the

motion ts $76,351.00.

 
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7. The principal balance due is $171,611.2

  

 

 

 

FURTHER AFFIANT SAYET

Signature:

Name Typed and Printed: Chamagne Williams
Title: Assistant Vice President
Company: OneWest Bank, FSB

 

SWORN TO AND SUBSCRIBED before me this Qa"tay of __ Jefe ke __, 2010 by

Chamagne Williams who is personally known to me and who did take an
oath.

att [Fe

NOTARY PUBLIC STATE OF ‘Texas

 

 

   
   
  

shnitd,, GREGORY MICHAEL WARNER

A= Notary Public, State af Texas
2X ng My Commission Expires
HE May 27, 2014

Ae eee

Property Address: 1575 Northwest 124th Street, North Miami, FL 33176
Borrower: Beauharnais, Andre
LL - 10-52658

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Notary’s Name Printed:
My Commission Expires:

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My Home

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Property Information

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Summary Details:
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Properly: i575 NW 124 ST
Malling ANDRE J BEAUHARNAIS
Address: J&W MARIE
1575 NW 724 ST MIAMI FL
33187-23542
information:

 

 

 

 

 

 

   

Zone:

FAMILY

48

LOT 17 BLK +
64.660 X 128 OR
47-7315 0285 1 COG

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Assessment Information:

Value:

 

Exemption Information:
jYear; 2010 2009
peneeee $25,000_| $25,000 |
end Homestead: YES YES

Taxable Value Information:
ear 2010

 

 

 

 

 

 

 

Exempllon/ | Exemption!

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574,195

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Sale Information:

[Sale Data: yiv200s ]

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Legend

Property
Boundary

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Property

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Street

Highway

Miami-Dade
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Aerial Photography - 2008 Das 145 ft

My Home | Property Information j Property Taxes
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If you experience technical difficulties with the Property Infarmation application,
or wish to send us your comments, questions or suggestions
please emall us at Webmaster,

Web Sile
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Sales
Qualification Sales which are qualified
Description:

View Additional Sates

Additional Information:
Click hers to sa@ more Information for thle
property:

Community Develooment District
Community Redevslopment Area
Empowerment Zo1a

Enterprise Zone

Zoning Land Use

Urban Development Boundary
Zoning

Non-Ad Valorem Assessments

 

 

 

 

 

 

 

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